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                     Exhibit 15
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    WHITE HOUSE
 White House scraps public spending database
 Budget office since 2022 has been required to publish "apportionments" data




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 Office of Management and Budget Director Russ Vought is seen during initial meetings with senators on Dec. 9, prior to President
 Donald Trump taking office and formally submitting his nomination. (Tom Williams/CQ Roll Call)
 By Paul M. Krawzak
 Posted March 24, 2025 at 1:02pm, Updated at 2:50pm




 The White House budget office has taken down its website where approvals of federal funding provided in
 appropriations laws are statutorily required to be posted for public viewing, a move likely to face major
 blowback from members of Congress and government watchdogs.


 As of Monday morning, the Office of Management and Budget was no longer making “apportionments” of
 previously enacted appropriations available on the website it set up for that purpose after Congress mandated
 the requirement starting in 2022. The site now simply says: “Page not found.”

 Sources familiar with the decision said it was made because preliminary information was being disclosed on
 the site. They added that making apportionments public could include sensitive data that might pose a risk to
 national security.


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 Disclosures of apportionment data can be premature because they represent interim decisions which are
 subject to change, the sources said. Making the information public could also undermine the OMB’s
 relationships with agencies and ability to supervise federal spending, they said, adding that apportionment
 data would still be available to lawmakers if needed.

 But open government groups seem likely to challenge the decision in court, given it appears to flout the 2022
 law.


 “This is in direct violation of federal law,” said Faith Williams, director of the effective and accountable
 government program at the Project on Government Oversight, known as POGO. “The apportionments
 database is a critical tool for Congress and the public to hold the executive branch accountable for its
 spending.”

 A House Democratic aide disputed the contention that published apportionments could expose sensitive
 internal agency deliberations. The aide said those apportionments represent final decisions subject to the
 statutory disclosure law as well as Freedom of Information Act requirements, as opposed to the back and forth
 between agencies and OMB before a decision is made, which is not.


 Also, if any apportionment data is sensitive enough to be classified, that information is not disclosed on the
 public site, the aide said, calling Monday’s action “deeply suspicious.”




 Roots in Ukraine aid fight


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 The fiscal 2022 wrapup spending package, signed in March 2022, initially established the requirement for public
 posting of apportionments, which are how the OMB parcels out available funding to federal agencies to ensure
 they do not burn through the money too quickly.


 The 2022 law required the budget office to establish its apportionments website within 120 days of enactment,
 with each apportionment document posted within two days, along with any footnotes and an explanation for
 those footnotes. Any change in the delegation of apportionment authority to different officials within the
 budget office would also have to be disclosed.


 In the fiscal 2023 omnibus package enacted in late 2022, lawmakers inserted language making clear their intent
 was for the OMB to continue to “operate and maintain the automated system” required under the previous
 spending law in that fiscal year “and each fiscal year thereafter.”


 The law was in part a response to actions taken during the first Trump administration, whereby then-Office of
 Management and Budget Director Russ Vought, through delegation of authority to political appointees at the
 agency, directed agencies to withhold the obligation of funds to Ukraine using apportionment footnotes.
 Vought is once again the White House budget office director after his party-line Senate confirmation vote
 earlier this year.




 Democrats first raised the issue as an item they wanted to include in 2020 spending legislation, but President
 Donald Trump, then in his first term, threatened to veto it. So Democrats bided their time and waited out
 Trump, getting it over the finish line after the 2020 election, when they controlled both chambers and the
 White House.

 “The American people have the right to know how their tax dollars are being spent, but it is clear that Russ
 Vought and President Trump do not care about transparency or following the law I authored,” House
 Appropriations ranking member Rosa DeLauro, D-Conn., said in a statement. “You only hide this information
 if you want to break the law without accountability.”

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 Advocates for transparency in government hailed the apportionments database as a major step forward at the
 time. And it’s taken on more importance this year, amid the Trump administration’s various executive orders
 and other actions to delay or withhold funds for activities deemed out of step with its priorities.


 Earlier this year, CQ Roll Call and later ProPublica used public apportionments data to report on previously
 enacted funding being freed up for the U.S. DOGE Service — more popularly known as the Department of
 Government Efficiency.

 Through the beginning of March, the White House had apportioned over $40 million to the Elon Musk-led
 “DOGE,” according to data compiled by OpenOMB, a website maintained by the Protect Democracy Project, a
 nonprofit.


 “Congress passed a law to make apportionments public specifically in response to the first Trump
 administration’s illegal impoundment actions,” said Charlie Ellsworth, a former top aide to Senate Minority
 Leader Charles E. Schumer, D-N.Y., now a senior adviser to the Congressional Integrity Project, an advocacy
 group. “Now, under the cover of darkness, Trump can cut programs serving Americans while awarding
 contracts to Elon Musk-owned companies.”


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